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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23749777
Notice of Service of Process                                                                            Date Processed: 09/10/2021

Primary Contact:           Cynthia Bertucci
                           Dollar Tree Stores Inc
                           500 Volvo Pkwy
                           Chesapeake, VA 23320-1604

Electronic copy provided to:                   Heather Hunter
                                               JJ Jacobson-Allen

Entity:                                       Family Dollar Stores of Georgia, LLC
                                              Entity ID Number 3697582
Entity Served:                                Family Dollar Stores Of Georgia, Inc.
Title of Action:                              Lanesha Wimbush vs. Family Dollar Stores Of Georgia, LLC
Matter Name/ID:                               Lanesha Wimbush vs. Family Dollar Stores Of Georgia, LLC (11551558)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Douglas County State Court, GA
Case/Reference No:                            21SV00777
Jurisdiction Served:                          Georgia
Date Served on CSC:                           09/10/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           N. John Bey
                                              404-344-4448

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
      Case 1:21-cv-04078-TWT Document 1-2 Filed 10/01/21 Page 2 of 31                                                FILED
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                                                                                                       Douglas County, GA
                                                                                                                21SV00777


                IN THE STATE COURT OF DOUGLAS COUNTY
                           STATE OF GEORGIA

LANESHA WIMBUSH,                                   I
                                                               CIVIL ACTION
       Plaintiff,                                              FILE NO.: 21 SV00777

                                                               JURY TRIAL DEMAND
V.


FAMILY DOLLAR STORES
OF GEORGIA, LLC,

       Defendant.


                                   VERIFIED COMPLAINT

       Plaintiff Lanesha Wimbush (hereinafter "Plaintiff'), in the above-styled action, and files

this Verified Complaint against the Defendant Family Dollar Stores of Georgia, LLC

(hereinafter "Defendant") and shows the court as follows:

                                PRELIMINARY STATEMENT

                                                 1.

       This is a civil action seeking to hold Defendant liable for the incident that occurred on

March 27, 2020, causing personal injuries to Plaintiff.

                          PARTIES, JURISDICTION, AND VENUE

                                                 2.

       At all relevant times in the instant litigation, Plaintiff was a citizen of the State of Georgia

with domiciliary in the State of Georgia, residing in Fulton County.

                                                 3.

       At all relevant times in the instant litigation, Defendant was operating its business as a


                                                  1
      Case 1:21-cv-04078-TWT Document 1-2 Filed 10/01/21 Page 3 of 31



                                                                                                     21SV00777


Foreign Limited Liability Company. Defendant may be served with process through its registered

agent Corporation Service Company at 2 Sun Court, Suite 400, Peachtree Corners, Gwinnett

County, Georgia 30092.

                                               4.

       The subject premises liability incident occurred inside the Family Dollar store located at

6113 Fairburn Road, Douglasville, Georgia 30134 in Douglas County.

                                                5.

       Defendant is subject to this jurisdiction under Article VI, Section Il, Paragraph VI of the

Constitution of the State of Georgia and O.C.G.A. §14-2-5 1 0(b)(3).

                                      OPERATIVE FACTS

                                                6.

       On March 27, 2020, Plaintiff was an invitee at the Family Dollar store located on 6113

Fairburn Rd, Douglasville, GA 30134.

                                                7.

       As Plaintiff was walking through the detergent aisle, she unknowingly stepped onto a wet

substance.

                                                8.

       The spill caused Plaintiff to slip and fall onto the floor, causing a concussion, bruising,

headaches and swelling on her back.

                                               ;9

       Another individual observed the incident and asked an employee to clean up the wet

substance.


                                                2
       Case 1:21-cv-04078-TWT Document 1-2 Filed 10/01/21 Page 4 of 31



                                                                                                         2lsvoo777


                                                   10.

         No employees immediately reported to the scene.

                                                   11.

         As a result of this injury, Plaintiff sought immediate treatment at Wellstar Atlanta Medical

Center where she complained of neck pain, back pain, and pain in the back of her head.

                                                   12.

         At all times relevant to this action, Defendant owed Plaintiff a duty to exercise ordinary

care in keeping the premises and approaches safe.

                                                   13

         Plaintiff was an invitee, as she was invited on the premises and acted on said invitation by

entering Defendant's place of business for the lawful purpose of buying goods and/or services.

                                                   14.

         Plaintiff entered Defendant's establishment and slipped on a wet substance on the floor.

                                                   15.

         As a result of slipping on the substance, Plaintiff fell to the ground.

                                                   16.

         As a result of the fall, Plaintiff suffered severe injuries that required medical treatment.

                                                   17.

         As a result of Defendant's negligence, Plaintiff underwent medical treatment for her

inj uries.

                                  COUNT ONE: NEGLIGENCE

                                                   18.

         Plaintiff incorporates by reference, as fully set forth herein, Paragraph 1 through 17 of the
                                                    3
      Case 1:21-cv-04078-TWT Document 1-2 Filed 10/01/21 Page 5 of 31



                                                                                                           21SV00777


Complaint in its entirety.

                                                  19.

        Defendant owed Plaintiff a duty to exercise ordinary care in keeping the premises and

approaches safe.

                                                  20.

        Defendant breached its duty to exercise ordinary care in keeping the premises and

approaches safe when it failed to properly notify its customers of the hazard posed by the wet

substance on the floor.

                                                  21.

        Defendant knew or should have known that the substance was dangerous and should have

properly displayed danger signs or adequately informed its guests of the danger caused by the

substance.

                                                  22.

        Defendant negligently left the wet substance on the floor without any precaution to its

guests, causing Plaintiff to slip and fall.

                                                  23.

        As a result of Plaintiff's slip and fall, she suffered injuries that required medical treatment.

                                                  24.

        As a direct and proximate result of Defendant negligence, Plaintiff sustained physical and

emotional injuries.

                                                  25.

        As a direct and proximate result of Defendant's negligence, Plaintiff was required and


                                                   4
      Case 1:21-cv-04078-TWT Document 1-2 Filed 10/01/21 Page 6 of 31


                                                                                                     21SV00777


underwent medical treatment for her injuries.

                                                PA

        As a direct and proximate result of Defendant's negligence, Plaintiff incurred significant

medical expenses.

                                                27.

        Defendant's negligence was a direct and proximate cause of injury to Plaintiff, including

pers'onal injuries.

                                                28.

        Defendant's negligence was a direct and proximate cause of injury to Plaintiff, including

medical expenses.

                                                29.

        Defendant's negligence was a direct and proximate cause of injury to Plaintiff, including

physical pain and suffering.

                                                30.

        Defendant's negligence was a direct and proximate cause of injury to Plaintiff, including

emotional pain and suffering.

                                                31.

        Defendant's negligence was a direct and proximate cause of injury to Plaintiff, including

mental anguish.




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      Case 1:21-cv-04078-TWT Document 1-2 Filed 10/01/21 Page 7 of 31



                                                                                                         21svoo777



    COUNT TWO: REASONABLE ATTORNEY'S FEES UNDER O.C.G.A. §13-6-11

                                                32.

       Defendant is liable to Plaintiff for her reasonable and necessary attorney's fees in this

matter for causing Plaintiff unnecessary trouble and expense and for being stubbornly litigious

where there is no bona fide controversy as to liability or damages in this matter.

       WHEREFORE, Plaintiff prays for the following:

       (a)     That process and summons issue requiring Defendant to appear as provided by law
               and to answer the allegations of this Complaint;
       (b)     A trial by jury;
       (c)     Recovery for her past and future physical pain and suffering;
       (d)     Recovery for her past and future mental and emotional pain and suffering;
       (e)     Recovery of past general damages in the amount of forty-eight thousand four
               hundred and twenty-five dollars and twenty-five-cents ($48,425.25) for Plaintiff;
       (f)     Recovery for present and future medical, hospital, and other items of special
               damage;
       (g)     That all costs be cast against Defendant;
       (h)     Her loss of enjoyment of life;
       (i)     That Plaintiff be awarded her reasonable attorney fees and costs of filing this action;
               and
       (j)     For such other and further relief as the Court deems just and appropriate.


                                                               BEY & ASSOCIATES, LLC


                                                               N. John Bey
                                                               Georgia Bar No. 118279
                                                               Joe Morris III
                                                               Georgia Bar No. 524280
                                                               Attorneys for Plaintiff



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      Case 1:21-cv-04078-TWT Document 1-2 Filed 10/01/21 Page 8 of 31



                                                                        21SV00777


191 Peachtree Street N.E., Suite 3200
 Atlanta, Georgia 30303
Telephone: (404) 344-4448
 Facsimile: (404) 393-6107
john@beyandassociates.com
joe@beyandassociates.com
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                IN TFiE STATE COURT OF DOUGLAS COUNTY
                            STATE OF GEORGIA
LANESHA WIMBUSH,
                                                                CIVIL ACTION
       Plaintiff,                                               FILE NO.:

                                                                dURY TRIAI. DEMAND
V.

FAMILY DOLLAR STORES
OF GEORGIA, LLC,

       Defendant.


                                        VERIFICATION

       Personally, appeared before me, LANESHA WIMBUSH, who, affter first being duly

swom, deposes and states under oath that I have read the foregoing Verified Coffiplaint, and

that the presented facts stated therein are true and correct to the best of my knowledge.

Respectfiilly submitted o~~~~~                      , l0L 1.


                                                    L"Wy
                                                      LANESHA WIMBUSH
                                                         Lanesha Wimbush

Sworn and subscribed before me o                                ~~2021
                                                                   vI


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                                                                                 ~

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                     IN THE STATE COURT OF DOUGLAS COUNTY

                                      STATE OF GEORGIA

LANESHA WIMBUSH
                          Plaintiff

                                                                      21SV00777
       Versus                                           CASE NO.

FAMILY DOLLAR STORES OF GEORGIA, LLC
       Defendant


                                         SUMMONS
TO THE ABOVE NAMED DEFENDANT:

        You are hereby summoned and required to file with the Clerk of said court and serve upon the
PlaintifPs attorney, whose name and address is:

Bey and Associates, LLC / N. John Bey, Esq.
191 Peachtree St. NE, Suite 3200
Atlanta, GA 30303


an answer to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of senrice. If you fail to do so, judgment by default will be
taken against you for relief demanded in the complaint.


       This 1          day of September         2021.




                                                        /s/ Annetta D. Stembridge
                                                      Clerk of State Court
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                                                                                                         9/1/2021 6:06 PM
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                                                                                                    Superior & State Court
                                                                                                      Douglas County, GA
                                                                                                              21SV00777

                     IN THE STATE COURT OF DOUGLAS COUNTY
                                STATE OF GEORGIA

LANESHA WIMBUSH,
                                                               CIVIL ACTION
       Plaintiff,                                              FILE NO.: 21 SV00777

                                                               JURY TRIAL DEMAND
V.

FAMILY DOLLAR STORES                               ~
OF GEORGIA, LLC,                                   ~
                                                   ~
       Defendant.                                  ~


                 PLAINTIFF'S FIRST REOUEST FOR ADMISSIONS
             OF FACT TO FAMILY DOLLAR STORES OF GEORGIA, LLC

       In compliance with O.C.G.A. § 9-11-36, Defendant Family Dollar Stores of Georgia, LLC

(hereinafter "Defendant") is required to admit the truth of the separately listed matters of fact, and

the genuineness ofthe attached documents, on the forty-fifth (45th) day after service ofthis request.

As required by statute, Defendant is required to respond to this request in writing.

       Defendant is specifically reminded that the separately listed statements of facts are deemed

admitted unless, within forty-fifth (45) days after service of Plaintiff's First Request For

Admissions to Defendant Family Dollar Stores of Georgia, LLC ("Admissions"), Defendant serves

a written answer, or objection, addressed to each fact.

                                          DEFINITIONS

        When used in these Admissions, the following terms shall have the meanings herein

assigned unless the context clearly requires another construction.

       (a)     The terms "Defendant" and "you" and any synonym or plural thereof and

               derivatives therefrom, Family Dollar Stores of Georgia, LLC, and, in addition,

               counsel for Defendant and all agents, masters, servants, associates, employees,
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                                                                                                     21SV00777


               representatives, private investigators, insurers and others who are or have been in

               possession of, or who may have obtained, information for or on Defendant's behalf.

               See O.C.G.A. §9-11-33) (a).

       (b)     The term "incident," "subject incident", or "occurrence".when used herein shall not

               refer to occurrence unmixed with negligence but shall refer to that event of March

               27, 2020 in which Plaintiff Lanesha Wimbush slipped and fell while she was a

               patron ofthe Family Dollar store located in Douglas County, Georgia.

                          REQUESTS TO ADMIT TO DEFENDANT



       Please admit that you have been served with process in this action.

                                                     pi

       Please admit you raise no defense as to sufficiency of service of process in this action.

                                                     3.

       Please admit that you are subject to the jurisdiction of this Court.

                                                     4.

       Please admit that venue in this Court is proper as to you.

                                                     5.

       Please admit that Plaintiff Lanesha Wimbush, as designated in the caption to this lawsuit,

is the proper party to bring the instant action.

                                                     6.

       Admit that on or about March 27, 2020, Plaintiff Lanesha Wimbush was an invitee of

Defendant's store, located at 6113 Fairburn Road, Douglasville, Douglas County, Georgia 30134.



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                                                                                                   21SV00777


                                               7.

        Admit that you knew or should have known that on March 27, 2020, that there was a wet

substance on the floor where Plaintiff Lanesha Wimbush fell.

                                               8.

        Admit that you had a duty of warn of hazardous conditions on your property.

                                               a
        Admit Plaintiff Lanesha Wimbush was invited onto your property.

                                              10.

        Admit that no one employed by you called 911 or emergency services after Plaintiff

Lanesha Wimbush was injured.


                                              11.

        Admit that Plaintiff Lanesha Wimbush was injured on your premises.

                                              12.

        Admit that Plaintiff Lanesha Wimbush was a customer of yours at the time she was injured

on March 27, 2020.

                                               13.

        Please admit that Plaintiff Lanesha Wimbush sustained serious and severe injuries to her

person as a result of the fall.

                                               14.

        Please admit that Plaintiff Lanesha Wimbush was not contributorily negligent.



(SIGNATURES ON NEXT PAGE)


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                                                                        21SV00777


                                             BEY & ASSOCIATES, LLC


                                             N.John Bey
                                             Georgia Bar No. 118279
                                             Joe Morris III
                                             Georgia Bar No. 524280
                                             Attorneys for Plaintiff


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                                                                                                    Superior & State Court
                                                                                                      Douglas County, GA
                                                                                                               21SV00777


                     IN THE STATE COURT OF DOUGLAS COUNTY
                                STATE OF GEORGIA

LANESHA WIMBUSH,
                                                              CIVIL ACTION
       Plaintiff,                                             FILE NO.: 21 SV00777

                                                              JURY TRIAL DEMAND
0

FAMILY DOLLAR STORES
OF GEORGIA, LLC,

       Defendant.


                     PLAINTIFF'S FIRST INTERROGATORIES
             TO DEFENDANT FAMILY DOLLAR STORES OF GEORGIA, LLC

       COMES NOW, Plaintiff, in the above-styled action, and requests that Defendant Family

Dollar Stores of Georgia, LLC, (hereinafter "Defendant" or "Defendant Family Dollar") answer

Plaintiffls First Interrogatories to Defendant Family Dollar, under oath and in accordance with the

Georgia Civil Practice Act, within thirty (45) days of service hereof.

                                        INTRODUCTION

       In answering these interrogatories, furnish all information that is available to you, including

information that is in the possession of your attorneys and agents. If you are unable to answer any

of the following interrogatories in full, answer to the greatest extent possible, specifying the

information that you are unable to provide and the reasons that you are unable to provide it. You

are required to supplement your responses as provided by O.C.G.A. § 9-11-26 (e).

       In the event that any answer or portion thereof will be withheld because of a claim of

privilege or work product:

       (a)     State the basis upon which the privilege is or will be claimed;
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                                                                                                        21SV00777


       (b)      If a document is involved, state the author of the document, the date of the

               document, and the identity of the person possessing the document; and

       (c)     State the general subject matter of the information or any document or portion

               thereof for which the privilege is claimed.

                                         DEFINITIONS

       As used herein, the terms listed below are defined as follows:

       1.      "Document" means every writing, printing, record, graphic, photographic or sound

reproduction of every type and description that has been in Defendant's possession, control or

custody or of which it has knowledge, including but not limited to, correspondence, reports,

meeting minutes, memoranda, stenographic or handwritten notes, diaries, notebooks, account

books, orders, invoices, statements, bills, checks, vouchers, purchase orders, studies, surveys,

charts, maps, analyses, publications, books, pamphlets, periodicals, catalogues, brochures,

schedules, circulars, bulletins, notices, instructions, manuals, journals, e-mails, e-mail

attachments, data sheets, work sheets, statistical compilations, data processing cards, microfilms,

computer records (including printouts, disks or other magnetic storage media), tapes, photographs

(positive or negative prints), drawings, films, videotapes, pictures, and voice recordings. Plaintiff

expressly intends for the term "Document" to include every copy of such writing, etc. when such

copy contains any commentary or notation whatsoever that does not appear on the original and

any attachments or exhibits to the requested document or any other documents referred to in the

requested document or incorporated by reference.

       2.      "Person" means any natural person, corporation, partnership, proprietorship,

association, organization, group of persons, or any governmental body or subdivision thereof.



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       3.      (a)     "Identi " with respect to any "person" or any reference to stating the

"identity" of any "person" means to provide the name, home address, telephone number, business

name, business address, and business telephone number of such person, and a description of each

such person's connection with the events in question.

               (b)     "Identi " with respect to any "document" or any reference to stating the

"identification" of any "document" means to provide the title and date of each such document,

the name and address of the party or parties responsible for the preparation of each such document,

the name and address of the party who requested or required the preparation of the document or

on whose behalf it was prepared, the name and address of the recipient or recipients of each such

document, and the names and addresses of any and all persons who have custody or control of

each such document, or copies thereof.

       4.      "Subiect Incident" means events made the basis of the Complaint, including the

incident that occurred on March 27, 2020.

       5.      "I)efendants" "yau" or "your" means Defendant Family Dollar.

       6.   ' The terms "and" as well "or" shall be each construed conjunctively and

disjunctively as necessary to bring within the scope of each interrogatory and request for

documents all information and documents that might otherwise be construed to be outside its

scope. The term "and/or" shall be construed likewise.

       7.      Whenever necessary to bring within the scope of an interrogatory or request for

production of documents any information or document that might otherwise be construed to be

outside its scope: (i) the use of a verb in any tense shall be construed as the use of the verb in all

other tenses; (ii) the use of the singular shall be construed as the use of the plural and vice versa;

and (iii) "any" includes "all," and "a1P" includes "any."

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        8.         With regard to any term used herein that is deemed by the responding party as being

ambiguous or vague, a term shall be construed in its broadest sense to encompass all reasonable

definitions of that term.

            9.     CONTINUING DUTY TO SUPPLEMENT — Defendant is under a continuing

duty to supplement these responses in accord with Georgia law.

                                          INTERROGATORIES

                                                     1.

            Identify the person(s) answering this discovery request on behalf of Defendant.

                                                     oi

            Describe the condition of the floor to wit where Plaintiff fell on March 27, 2020.

                                                     3.

            Identify each expert who has been retained or specifically employed by you in anticipation

of litigation or preparation for trial.

                                                     4.

            Identify with specificity and detail all documentary evidence in your possession, custody,

or control related to the claims alleged in the Complaint. For each item identified, state the full

name and address of the record custodian, the location of the document, and the name(s) of all

person(s) who have been provided with a copy.

                                                     5.

            Please list each and every exhibit that you intend to have admitted into evidence at the time

of trial.




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                                                 on

       Please identify all witnesses known to you who saw or claim they saw, all or any part of

the occurrence complained of in this action.

                                                  7.

       Please identify all persons who have given written or recorded statements covering the

facts and/or circumstances of the incident which is the subject matter of this litigation, identifying

the same with sufficient particularity to satisfy a Request for Production of Documents.

                                                  8.

       State the full name, address, and telephone number of each and every person who was

working at the time in which the incident occurred.

                                                  9.

       Please identify any policy or policies of liability insurance which would insure to the

benefit of the Plaintiff here by providing for payment of a part of or all of any judgment rendered

in favor of Plaintiff against you or any other person/corporation who may be liable to Plaintiff by

reason of the incident described in the Complaint.

                                                 10.

        State the name, address, and telephone number of any and all experts who have been

employed by the Defendant to investigate this incident, examine the door involved in this incident,

or who have in any way investigated the subject incident on behalf of the Defendant.

                                                 11.

        With particularity sufficient to satisfy O.C.G.A. 9-11-26(b)(4), please identify each person

whom you expect to call or may call as an expert witness upon the trial of this matter.



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     Case 1:21-cv-04078-TWT Document 1-2 Filed 10/01/21 Page 20 of 31



                                                                                                         21SV00777

                                                 12.

       State the full name, address, and telephone number of each and every person who witnessed

Plaintiff Wimbush fall on March 27, 2020.

                                                 13.

       Identify all supervisors employed by you on March 27, 2020.

                                                 I[N

       State the types of items on display in the area where Plaintiff Wimbush fell.

                                                 15.

       Identify all documents in your possession which support your responses to these

Interrogatories.

                                                 16.

       Identify all similar premises liability incidents you have been involved in the last ten years.

                                                 17.

       To your knowledge, information or belief, are there any photographs or drawings of the

scene of the subject incident? If so, please describe-each individual photograph or drawing with

specificity, including, but not limited to, the date made, by whom it was made, the form (whether

photographic print, transparency, diagram, plat, etc.), the subject represented, all facts represented

or shown, and the present location and the name of the person having possession, custody or

control.

                                                  18.

       If you have raised any affirmative defenses in your Answer to the Complaint, state the

factual and/or legal basis for each defense.



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                                                                                                        21SV00777


                                                 19.

       Do you have in your possession or under your control any medical reports,

communications, or written material not previously disclosed relating to any Plaintiff's medical

condition prior to the subject incident? If so, identify the nature of each record, communication

and written information, its author or writer, and the date thereof.

                                                 20.

       Do you have in your possession or under your control any medical reports, communications

or written material not heretofore disclosed relating to the Plaintiff s medical condition subsequent

to the subject incident? If so, identify the nature of each record, communication and written

information, its author or writer and the date thereof.

                                                 21.

       Identify every act, statement, document, or event which supports any contention that

Plaintiff contributed to or caused the subject incident to occur.




                                                              BEY & ASSOCIATES, LLC


                                                              N. John Bey
                                                              Georgia Bar No. 118279
                                                              Joe Morris III
                                                              Georgia Bar No. 524280
                                                              Attorneys for Plaintiff


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 Facsimile: (404) 393-6107
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                                            UA of .? 1yc41:rY[olizl
STATE OF GEORGIA

FULTON COUNTY

        I,                                          , am over eighteen (18) years of age and of sound

mind and body. I hereby swear/affirm that the attached responses to Plaintiff's First

Interrogatories to Defendant Family Dollar Stores of Georgia, LLC are true and correct to the

best of my knowledge against the penalty of perjury.


This         day of       , 20




Personally, appeared before me, the above-named person who under oath states that the facts set

forth in the foregoing petition are true.


Notary:

My Commission expires on:




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                                                                                                        9/1/2021 6:06 PM
                                                                                             Annetta D. Stembridge, Clerk
                                                                                                   Superior & State Court
                                                                                                     Douglas County, GA
                                                                                                             21SV00777

                       IN THE STATE COURT OF DOUGLAS COUNTY
                                  STATE OF GEORGIA

LANESHA V6WIMBUSII,
                                                              CIVIL ACJ1ygi1~00777
          Plaintiff,                                          FILE NO.:

                                                              JURY TRIAL DEMAND
V.

FAMILY DOLLAR STORES
OF GEORGIA, LLC,

          Defendant.


              PLAINTIFF'S REQUEST FOR PRODUCTION
OF DOCUMENTS TO DEFENDANT FAMILY DOLLAR STORES OF GEORGIA, LLC

          COMES NOW, Plaintiff, in the above styled action, and serves upon Defendant Family

Dollar Stores of Georgia, LLC (hereinafter "Defendant" or "Defendant Family Dollar) the

following Request for Production of Documents and requires Defendant to respond to said Request

for Production of Documents separately and fully and to permit Plaintiff's counsel to inspect and

copy the requested documents. Said production will take place at the offices of Plaintiffls counsel,

Bey & Associates, LLC, 191 Peachtree Street, N.E., Suite 3200, Atlanta, Georgia 30303 within

forty- five (45) days after service of this request or at such other time and place as agreed to

between counsel for the parties. This request also requires the Defendant, pursuant to O.C.G.A. §

9-11-34, to permit Plaintiff or Plaintiff's agent or attorneys to enter upon designated land or other

property in the possession or control of the Defendant for the purposes of inspection,

photographing, testing or sampling of any designated object within the scope of O.C.G.A. § 9-11-

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                                         DEFINI'TIONS

       As used herein, the terms listed below are defined as follows:

       1.      "Document" means every writing, printing, record, graphic, photographic or sound

reproduction of every type and description that has been in Defendant's possession, control or

custody or of which it has knowledge, including but not limited to, correspondence, reports,

meeting minutes, memoranda, stenographic or handwritten notes, diaries, notebooks, account

books, orders, invoices, statements, bills, checks, vouchers, purchase orders, studies, surveys,

charts, maps, analyses, publications, books, pamphlets, periodicals, catalogues, brochures,

schedules, circulars, bulletins, notices, instructions, manuals, journals, e-mails, e-mail

attachments, data sheets, work sheets, statistical compilations, data processing cards, microfilms,

computer records (including printouts, disks or other magnetic storage media), tapes, photographs

(positive or negative prints), drawings, films, videotapes, pictures, and voice recordings. Plaintiff

expressly intend for the term "Document" to include every copy of such writing, etc. when such

copy contains any commentary or notation whatsoever that does riot appear on the original and

any attachments or exhibits to the requested document or any other documents referred to in the

requested document or incorporated by reference.

       2.      "Person" means any natural person, corporation, partnership, proprietorship,

association, organization, group of persons, or any governmental body or subdivision thereof.

       3.      (a)     "Identi " with respect to any "person" or any reference to stating the

"identity" of any "person" means to provide the name, home address, telephone number, business

name, business address, and business telephone number of such person, and a description of each

such person's connection with the events in question.



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               (b)    "Identi " with respect to any "document" or any reference to stating the

"identification" of any "document" means to provide the title and date of each such document,

the name and address of the party or parties responsible for the preparation of each such document,

the name and address of the party who requested or required the preparation of the document or

on whose behalf it was prepared, the name and address of the recipient or recipients of each such

document, and the names and addresses of any and all persons who have custody or control of

each such document, or copies thereof.

       4.      "Subiect Incident" means events made the basis of the Complaint, including the

slip and fall that occurred on March 27, 2020.

       5.      "Defendants" ` ou" or "your" means Defendant upon Defendant Family Dollar.

       6.      "Similar" shall have the meaning given in the American Heritage Dictionary,

which is "showing some resemblance; related in appearance or nature; alike but not identical." As

used here, the word "similar" shall not be limited as if modified by the word "substantially" and

shall not mean "the same". If you limit the information provided because you use another                 f




interpretation of the word "similar," please state the interpretation you are using and reveal the

nature of the information withheld.

       7.      "This Matter" is meant to include: the claim for personal injuries brought by the

Plaintiff. Therefore, if a request seeks the identity of witnesses or documents relating to "this

matter," it seeks information or documents which relate to all claims arising from the subject

incident.

       8.      The terms "and" as well "or" shall be each construed conjunctively and

disjunctively as necessary to bring within the scope of each interrogatory and request for



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documents all information and documents that might otherwise be construed to be outside its
                                                                 ~
scope. The term "and/or" shall be construed likewise.

       9.       Whenever necessary to bring within the scope of an interrogatory or request for

production of documents any information or document that might otherwise be construed to be

outside its scope: (i) the use of a verb in any tense shall be construed as the use of the verb in all

other tenses; (ii) the use of the singular shall be construed as the use of the plural and vice versa;

and (iii) "any" includes "all," and "a1P" includes "any."

       10.      With regard to any term used herein that is deemed by the responding party as being

ambiguous or vague, a tenn shall be construed in its broadest sense to encompass all reasonable

definitions of that term.

                               DOCUMENTS TO BE PRODUCED

                                                  1.

        Please produce any document that in any way refers to the incident suffered in which

Plaintiff was injured.

                                                  2.

        Please produce any document which lists the name of any employee of this Defendant who

was on duty on the date of the incident.

                                                  3.

        Please produce any document which shows the name of any employee of this Defendant.

                                                  4.

        Please produce any reports showing any investigation done into the incident suffered by

Plaintiff on the date of the incident.

                                                  5.

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       Please produce any document showing any conversation between any employee of this

Defendant and Plaintiff concerning the incident on the date of the incident.

                                                 C~

       Please produce financial records, tax returns, profit and loss statements, or any other

financial documentation which shows the net worth of this Defendant from the years 2018 through

and including the present.

                                                 7.

       Please produce any documents which references Plaintiff on the date of the incident.
                                                 8.

       Please produce any documents which show that this Defendant and/or its employees had

knowledge that Plaintiff fell on date of the incident.

                                                 9.


       Please produce any documents which show that this Defendant and/or its employees had

knowledge that any person and fell on its property the date of the incident.

                                                 10.

       Please produce any photograph, video, still photograph, digital photograph, audio

recording, or electronically stored recording of any of the above, or any other image which shows

the Plaintiff the date of the incident or his appearance afterwards.

                                                 11.

       Please produce 1any photograph, video, still photograph, digital photograph, audio

recording, or electronically stored recording of any of the above, or any other image which shows

the location where the incident occurred involving Plaintiff.

                                                 12.



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        Please produce any photograph, video, still photograph, digital photograph, audio

recording, or electronically stored recording of any of the above, or any other image which shows

the condition of the area where Plaintiff fell on March 27, 2020.

                                                13.

        Please produce any document that shows the name of the company or entity that owns,

operates, controls, or has an interest in this Defendant's premises.

                                                14

        Please produce any document that shows the name of any company or entity that owns,

operates, controls, or has an interest in the company identified in the previous Request.

                                                15.

        Please provide any document that states the name, address, and job title of any employee

of this Defendant who was responsible for creating, implementing, administering, supervising, or

otherwise had a say in this Defendant's policies and procedures concerning the hallway where

Plaintiff fell.

                                                16.
        Please provide any document that states the name, address and job title of any employee

of this Defendant who had direct contact with Plaintiff on the date of the incident subject to the

complaint in this matter before the incident incurred.

                                                17.
        Please provide any document that states the name, address, and job title of any employee

of this Defendant who had direct contact with Plaintiff on the date of the incident subject to the

complaint in this matter after the incident.

                                                18.


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       Please produce a certified copy of any insurance policy, including its declaration page(s),

which may provide coverage to this Defendant for any liability which may arise as a result of the

incident referred to in Plaintiff's Complaint.

                                                 19.

       Produce any document, memorabilia, note, or other recording that contains information

responsive to any of the Plaintiff's First Interrogatories to this Defendant.

                                                 ►~ 1



       Produce a copy of the full staffing schedule for this Defendant on the date of incident.
                                                 21.
       Provide any document which shows the name, address or last known address of any person

who was injured at this Defendant's premises from 2013 through the present.

                                                 22.
       Provide any document that shows the name, address, or last known address of any person

who filed a lawsuit or complaint as a result of being injured at this Defendant's premises from

2018 to present.

                                                 23.
       Produce a copy of any written policy or procedure of any kind of this Defendant concerning

the cleaning schedule of the aisleway where Plaintiff fell on or before March 27, 2020. Including

but not limited to, cleaning logs and what cleaning products are used.

                                                 24.

        Produce a copy of any written policy or procedure of any kind of this Defendant concerning

the cleaning schedule of the aisleway where Plaintiff fell after March 27, 2020. Including but not

limited to, cleaning logs and what cleaning products are used.

                                                 25.

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        Provide copies of any and all documents showing what disciplinary actions were taken

against any employee or agent of this Defendant, for their actions, omissions, violations of policy

or procedure, or violations of regulations concerning the incident involving Plaintiff on March 27,

2020.

                                                26.

        Provide a copy of the employee handbook of this Defendant.


                                                27.
        Provide a copy of the Articles of Incorporation of this Defendant from 2018 to 2021.




                                                             BEY & ASSOCIATES, LLC


                                                             N John Bey
                                                             Georgia Bar No. 118279
                                                             Joe Morris III
                                                             Georgia Bar No. 524280
                                                             Attorneys for Plaintiff
191 Peachtree Street N.E., Suite 3200
Atlanta, Georgia 30303
Telephone: (404) 344-4448
 Facsimile: (404) 393-6107
john@beyandassociates.com
joe@beyandassociates. com




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       lL ''~

             SHERIFF'S ENTRY OF SERVICE                                                           SC-85-2
                                                                                                                       Superior Court                              ❑             Magistrate Court                    ❑
                                                                                                                       State Court                                 ®             Probate Court                       ❑
             Civil Action No.          21SV00777                                                                       Yuvenuie Court                              ❑
              I)ate Filed        9/1/2021                                                                                                   DOUGLAS                                                COUNTY
                                                                                                                       Georgia ,

                                                                                                                            LANESHA WIMBUSH
              Attorney's Address
                N. JOHN BEY, ESQ.
                                                                                                                                                                                                              Plaintiff
                191 PEACHTREE STREET NE STE 3200
                ATLANTA, GA 30303                                                                                                                                       vs'
                                                                                                                       FAMILY DOLLAR STORES OF GEORGIA, INC.
             1Vame and Address of Party to be Served.

              FAMILY DOLLAR STORES OF GEORGIA, INC.                                                                                                                                                        Defendant

               C/O REGISTERED AGENT, CORPORATION

              SERVICE COMPANY                              _
                                                                                                                                                                                                           Garnishee
              2 SUN COURT SUITE 400
                                          SHERIFF'S ENTRY OF SERVICE
              PEACHTREE CORNERS, GA 30092

Q             I have this day served the defendant                                                                           _                                                             personally with a copy
z
ao      ❑     of the within action and summons.
cr
a

              I have this day served the defendant                                                                                            _.                                                           by leaving a;
                                                                                                                                                                                                                           ~~••
rn;;          copy of the action and summons at his most notorious place of abode in this County.
0                                                                                                                                                                                            described as follows: =`-
        ❑     Delivered same into hands of
Q
~             age, about                  years; weight                              pounds; height, about—                            feet and                              inches, domiciled at the residence ot
O
z             defendant.



z                                                              /                                                                  -
0             Served the defendant           ~'€" ~'" t~                       +~i    _          = r'?. (,:, ~         ~~    yt       L1Ji: i v t.            ~ E~ t~                                     a corporration
~           t by leaving a copy of the within action and sutnmons with—                     ~
        ~
~       ~' in charge of the offtce and place of doing business of said Corporation in this County.
Cc
O
U

J
Q          I have this day served the above styled affidavit and sumtnons on the defendant(s) by posting a copy of the same to the door of the premises designated in said
~          affidavit, and on the same day of such posting by depositing a true copy of same in the United States Ivtail, First Class in an envelope properly addressed to the
~
]C      ❑ defendant(s) at the address shown in said summons• with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
~         'place stated in the sutnmons.
F-



~             Diligent search made and defendant
z       ❑     not to be found in the jurisdiction of this Court.
O
z
                                                                              1, ~
              This    ~~    day of                         ;       t~:   20

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             SFIERIFF DOCKET                    PAGE

                                                                                            WHRE-CLERK           CANARY-PLAItYfIFr       PSNK-[3EFENDANT
